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                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                              WESTERN DISTRICT OF MISSOURI
                                                   CENTRAL DIVISION

UNITED STATES OF AMERICA

-vs-                                                                   Case No.: 05-4004-02-CR-C-NKL

VICKIE LYNN MUNROE

                                                                       USM Number: 17932-045

                                                                       Scott Hamblin, CJA
                                                                       312 East Capitol Ave.
                                                                       Jefferson City, MO 65102


                                       AMENDED JUDGMENT IN A CRIMINAL CASE

Date o f Original or La st Amen ded J udg me nt:         September 8, 2006
Reas on fo r Amen dm ent:
                Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

The defe nda nt plea ded guilty to Co unts 1 & 4 of the of the Second Superseding Indictment on January 26, 2006. Ac cordingly,
the court has ad judicated that the defendant is guilty of the following offense (s):


                                                                                            Date Offense            Count
       Title & Section                             Nature of Offense                         Concluded            Num ber(s)

 18 U.S.C. 846                  Conspiracy to Distribute and Possession with Intent            10/28/04               1ss
                                to Distribute 500 Gram s or More of
                                Methamphetamine

 21 U.S.C. 846 &                Crim inal Forfeiture                                           10/28/04               4ss
 841(a)(1) & 853

The defendan t is sentenced as pro vided in the following page s of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

Counts 1 & 3 of the Superseding Indictment dismissed on the motion of the United States.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or m ailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If orde red to pay restitution, the de fendan t shall notify the co urt an d United S tates attorney of any material change in the
defendant’s economic circumstances.

                                                                       Date of Imposition of Sentence:
                                                                       September 18, 2006

                                                                                             /s Nanette K. Laughrey
                                                                                             NAN ETT E K. LAUG HRE Y
                                                                                           UNITED STATES DISTRICT JUDGE

                                                                                                   September 18, 2006

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                                                     IMPRISONMENT
         The defendan t is hereby comm itted to the custody of the United States B ureau of Prisons to be imprisone d for a
total term of 48 Months on C oun t 1 of the Se con d Su pers eding Indictm ent.

         The Court recomm ends to the Bureau of Prisons:

                  The Court recomm ends that the defendant be designated to an institution where she may
                  participate in the 500-hour Residential Drug Treatment Program.

         The defendant is rem anded to the custo dy of the U nite d State s M arshal.




                                                          RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                               __________________________________
                                                                                     UNITED STATES MARSHAL


                                                                            By:__________________________________
                                                                                        Deputy U.S. Marshal




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                                                   SUPERVISED RELEASE

        Upon release from imprisonm ent, the defendant sha ll be on sup ervised release for a term 5 years of the Second
Supers eding Indictm ent.

        The defendant shall report to the probation office in the district to which the defenda nt is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not comm it another federal, state or local crime.

          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substan ce. The defendant sh all subm it to o ne dru g test w ithin 15 days of release from imprisonment and
at leas t two periodic drug tests thereafter, as determ ined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         If this judgment imposes a fine or restitution, it is a condition of supervision that the defenda nt pay in accorda nce with
the S che dule of Paym ents she et of this judg m ent.

        The defendant must com ply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION

1.       The defendan t shall not leave the judicial district without the perm ission of the court or probation officer;

2.       The defendant shall report to the probation officer and shall submit a truthful and com plete w ritten re port within the
         first five days of each month;

3.       The defendant sh all answe r tru thfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least te n (10) days prior to any change in residence o r em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       The defendant sh all not ass ociate with any persons engaged in crim inal activity and shall not asso ciate with any person
         convicted of a felony, unless granted perm ission to do so by the probation officer;

10.      Th e de fendan t shall perm it a pro bation officer to visit him or h er at any tim e at hom e or els ew here and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant sh all notify the probation officer within seventy-two (72) hours of being arrested or q uestio ned by a
         law enforcem ent officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the perm ission of the cou rt;

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13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifica tions a nd to con firm the defenda nt’s co m plianc e with s uch notifica tion req uirem ent.




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                             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         Th e de fendan t shall also co m ply with the following ad ditional cond itions of sup ervised re lease:

1.       The defe nda nt shall succes sfully participate in a substance abuse counseling program, which may include urinalysis,
         sweat patch, or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed
         by the P roba tion O ffice.


2.       The defendant shall submit his person, residence, office or vehicle to a search, conducted by a U.S. Probation Officer
         at a re asonable tim e and in a rea sonable manner, based upon reasona ble suspicion of contraban d or evidence of a
         violation of a condition of release; failure to submit to a search may be grounds for revocatio n; th e defendant s hall warn
         any oth er residents that the prem ises m ay be s ubje ct to searc hes purs uan t to this cond ition.




                                     ACKNOWLEDGMENT OF CONDITIONS

         I have read or ha ve read the conditions of supervision set forth in this judgm ent and I fully understand them . I have
bee n pro vided a copy of the m .

         I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) exten d the term of su perv ision, and/o r (3) m odify the con ditions of su perv ision.

_______________________________________                    ____________________
Defendant                                                  Date

________________________________________                   ____________________
United States Probation Officer                             Date




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                                               CRIMINAL MONETARY PENALTIES


       The defendant must pay the tota l crim inal m oneta ry pe nalties under the schedule of p aym ents s et forth in the Sc hedule
of Payments.


             Total Assessment                                       Total Fine                                   Total Restitution

                    $100.00                                               $                                                 $



         The defendan t shall pay interest on any fine or restitution of m ore than $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Sched ule of Paym ents m ay be subject to penalties for delinquency and default, pursuant to 18 U.S .C. § 3612(g).

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.




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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

         Lum p sum paym ent of $100.00 Special Ass essm ent is due im m ediate ly.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonm ent, paymen t of criminal mo netary
penalties is due during im prison m en t. All criminal monetary penalties, except those payments m ade through the Federal
Bureau of Prisons’ Inm ate F inancial Resp ons ibility Program , are m ade to the c lerk of the cou rt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




         Th e de fendan t shall forfeit the defe nda nt’s interest in the follow ing prope rty to the U nited S tates:

                                     The defend ant agre es to forfeit property as described
                                     in Paragrap h 9(j) of her plea ag reem ent w ith the
                                     gov ernm ent.




Pa ym ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution (7) penalties, and (8) costs, including cost of prosecution and court costs.




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